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 5   Attorney for GURDEV JOHL,
     Defendant
 6
 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    )   No. 12-CR-00180-JAM
                                                  )
12                        Plaintiff,              )   WAIVER OF PERSONAL APPEARANCE
                                                  )
13          v.                                    )
                                                  )
14   GURDEV KAUR JOHL,                            )
                                                  )
15                        Defendant.              )
                                                  )
16                                                )
17
18
19          The defendant hereby waives the right to be present in person in open court upon the
20   hearing of any motion or other proceeding in this case, including, but not limited to, when the
21   case is ordered set for trial, when a continuance is ordered, and when any other action is taken
22   by the court before or after trial, except upon arraignment, plea, every trial stage including
23   impanelment of jury and verdict, and imposition of sentence. The defendant hereby requests
24   the court to proceed during every absence of hers which the court may permit pursuant to this
25   waiver, agrees that her interests will be deemed represented at all times by the presence of her
26   attorney the same as if she were personally present, and further agrees to be present in court
27   and ready for trial any day and hour the court may fix in her absence.
28                                                    ///


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 1         The defendant acknowledges that she has been informed of her rights under Title 18
 2   U.s.C. Sections 3161-3174 (Speedy Trial Act), and authorizes her attorney to set times and
 3   delays under that act without her being present.
 4
 5   Dated: May 15, 2012                                    /s/ Gurdev Kaur Johl
                                                          GURDEV KAUR JOHL, Defendant
 6
 7
 8   I agree with and consent to my client’s waiver of appearance.
 9
10   Dated: May 15, 2012                                     /s/ Candace A. Fry
                                                          CANDACE A. FRY, Attorney for
11                                                        Defendant
12
13                                            O R D E R
14
15         It is so ordered.
16
17   Dated: May 18, 2012
18
19                                     /s/ John A. Mendez
                                       JOHN A. MENDEZ
20                                     UNITED STATES DISTRICT JUDGE
21
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